                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
FJN/RMP/LAB/AA                                        271 Cadman Plaza East
F. #2009R01065/OCDETF#NY-NYE-616                      Brooklyn, New York 11201



                                                      October 1, 2024

By ECF and E-Mail

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Ismael Zambada Garcia
                       Criminal Docket No. 09-466 (BMC) (S-5)


Dear Judge Cogan:

                The government writes to advise the Court that the government has a scheduling
conflict on the date currently set for the first status conference in the above-captioned case, and
for that reason to respectfully request that the conference be advanced. The government has
conferred with defense counsel and Your Honor’s courtroom deputy about convenient dates and
times, and all are available on October 17, 2024 at 2:15 p.m. Accordingly, and with the consent
of the defense, the government respectfully requests that the status conference currently
scheduled for October 31, 2024 be advanced to October 17, 2024 at 2:15 p.m.

                                                      Respectfully submitted,

                                                      BREON PEACE
                                                      United States Attorney

                                              By:      /s/ Robert M. Pollack
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